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 6
                             UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF WASHINGTON

 8
      UNITED STATES OF AMERICA,                          No.      CR-11-100-FVS-6
 9                                                                CR-11-101-FVS-3
                   Plaintiff,
10                                                       ORDER GRANTING MOTION AND
      v.                                                 SETTING CONDITIONS
11                                                       OF RELEASE
      JESSICA CRABTREE,
12                                                       0       Motions Granted
                   Defendant.                                    (Ct. Rec. 76, No. CR-11-
13                                                               100-FVS-6; Ct. Rec. 113,
                                                                 No.   CR-11-101-FVS-3)
14


15                                                       •       Action Required

16   Date of Motion hearing: August 29, 2011.

17         IT IS ORDERED that the release of the Defendant is subject to the

18   following:

19                         STANDARD CONDITIONS OF RELEASE

20

21   (1)      Defendant    shall    not    commit       any      offense    in   violation   of
              federal,    state    or   local    law.        Defendant      shall   advise   the
22            supervising Pretrial Services Officer and defense counsel
              within one business day of any charge, arrest, or contact
23            with law enforcement.

24   (2)      Defendant shall immediately advise the court, defense counsel
              and the U.S. Attorney in writing before any change in address
25            and telephone number.

26   (3)      Defendant shall appear at all proceedings as required and
              shall surrender for service of any sentence imposed as
27            directed.

28   (4)      Defendant shall sign and complete A.O.                       199C before being
              released and shall reside at the addressed furnished.


     ORDER SETTING CONDITIONS OF RELEASE                -    1
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